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Attorneys for Plaintiff


                    IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


     UNITED STATES OF AMERICA,              ) Case No. 3:21-mj-00533-MMS
                                            )
                          Plaintiff,        )
                                            )
          vs.                               )
                                            )
     CHRISTIAN MATTHEW MANLEY,              )
                                            )
                          Defendant.        )
                                            )


                          NOTICE OF CONVENTIONAL FILING

        The United States of America, through undersigned counsel, provides notice

to the Court that a CD containing Exhibits 1-4 has been filed conventionally. The

Government anticipates that these video exhibits will be presented during the identity

hearing in the above captioned case, currently scheduled for October 21, 2021.

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       RESPECTFULLY SUBMITTED this 20th day of October, 2021, in Anchorage,

Alaska.

                                               E. BRYAN WILSON
                                               Acting United States Attorney

                                               s/ Stephan Collins
                                               STEPHAN COLLINS
                                               Assistant U.S. Attorney




CERTIFICATE OF SERVICE

I hereby certify that on October 20, 2021, a
copy of the foregoing was served
electronically on:

Samuel Lee Eilers

s/ Stephan Collins
Office of the U.S. Attorney




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